                                                            Case 5:20-cv-00271-JVS-KK Document 55 Filed 10/25/21 Page 1 of 2 Page ID #:1747




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                                                             8                        UNITED STATES DISTRICT COURT
                                                             9                      CENTRAL DISTRICT OF CALIFORNIA
                                                            10
ZIPRICK & ASSOCIATES, LLP




                                                            11   ALFRED MONTANEZ III and                  Case No.: 5:20-cv-00271-JVS-KK
                            1233 BROOKSIDE AVENUE, STE. A




                                                                 HEATHER M. BAUER-
                               REDLANDS, CA 92373-4402




                                                            12
                                                                 ATHERTON                                 ORDER GRANTING STIPULATION
                                                            13                                            OF DISMISSAL [FRCP 41(a)]
                                                                                    Plaintiffs,
                                                            14
                                                                                                          Hon. James V. Selna
                                                            15         vs.
                                                            16                                            Federal Action Filed: 02/11/2020
                                                                 STATE FARM GENERAL
                                                                                                          State Court Action Filed: 03/08/2019
                                                            17   INSURANCE COMPANY, a
                                                                 corporation registered to do business
                                                            18
                                                                 in California, and DOES 1 through
                                                            19   100, inclusive;
                                                            20
                                                                                    Defendants.
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                                                                                                         -1-                 [5:20-CV-00271-JVS-KK]
                                                                    [PROPOSED] ORDER GRANTING STIPULATION OF DISMISSAL [FRCP 41(a)]
                                                            Case 5:20-cv-00271-JVS-KK Document 55 Filed 10/25/21 Page 2 of 2 Page ID #:1748




                                                             1                                ORDER OF DISMISSAL
                                                             2         Pursuant to the stipulation of the parties under Federal Rule of Civil
                                                             3   Procedure 41(a)(1)(ii), IT IS ORDERED THAT THIS ACTION BE, AND
                                                             4   HEREBY IS, DISMISSED WITH PREJUDICE as agreed upon in their settlement
                                                             5   agreement and as to all claims, causes of action, and parties, with each party bearing
                                                             6   that party’s own attorney’s fees and costs. The Clerk is directed to close the file.
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                                                                 DATED: October 25, 2021                 ___________________________
                                                            10
                                                                                                              James V. Selna
ZIPRICK & ASSOCIATES, LLP




                                                            11                                                U.S. District Judge
                            1233 BROOKSIDE AVENUE, STE. A
                               REDLANDS, CA 92373-4402




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                                                                                                         -2-                    [5:20-CV-00271-JVS-KK]
                                                                    [PROPOSED] ORDER GRANTING STIPULATION OF DISMISSAL [FRCP 41(a)]
